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 UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


THE UNITED STATES OF AMERICA                     §
                                                 §
versus                                           §          CRIMINAL NO. 4:11-CR-127(13)
                                                 §
BAJUNE MOSEBY                                    §


         ORDER AFFIRMING MAGISTRATE JUDGE’S ORDER OF DETENTION

         Pending before the court is Defendant Ba-June Moseby’s (“Moseby”) Motion to

Reconsider and/or Reopen the Court’s Detention Order (#276), Motion for Revocation or

Amendment of the Orders (#292), Motion to be Released Immediately (#329), Notice of Appeal

of Detention Order (#355), and Motion for Injunction Relief Pending Appeal (#370) and the

United States’ Notice of Correction (#324) and Response to Defendant’s Motion to Dismiss and

Motion for Injunction (#373). After reviewing the motions and the responses, reading the

transcript of the detention hearing held on June 24, 2011, the transcript of the detention hearing

held on October 3, 2011, and the transcript of the hearing on Defendant’s Motion to Reopen

Detention Hearing held on April 26, 2012, examining Magistrate Judge Don Bush’s Orders of

Detention dated June 28, 2011, March 6, 2012, April 27, 2012, and May 14, 2012, and

considering the matter de novo pursuant to 18 U.S.C. § 3145, the court is of the opinion that the

orders of detention should be AFFIRMED and Moseby’s motions should be DENIED.

         Moseby is charged by indictment with conspiracy to possess with intent to distribute 1000

kilograms or more of marijuana in violation of 21 U.S.C. § 846. The conspiracy is alleged to

span the period from June 2006 until June 2011. If Moseby is convicted of this offense, he could

be imprisoned from 10 years to life, fined up to $10,000,000, and placed on supervised release
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for at least 5 years. Having found that there is probable cause to believe that Moseby has

committed an offense for which the maximum sentence is life imprisonment and a penalty of 10

years or more is prescribed in the Controlled Substances Act, 21 U.S.C. § 801 et seq., a

rebuttable presumption exists that he is a flight risk and a danger to the community. See 18

U.S.C. § 3142(e).

          The testimony and other evidence adduced at the hearings establish by a preponderance of

the evidence that Moseby poses a flight risk and by clear and convincing evidence that he

constitutes a danger to the community. Special Agent Richard Gardener (“Gardener”) of the Drug

Enforcement Administration testified at the initial detention hearing that when Moseby was

arrested at his residence in Arlington, Texas, on June 20, 2011, agents found an unsecured AR-15

rifle and .40 caliber Ruger pistol along with accompanying ammunition in the apartment that he

shared with his 6-year-old son. In addition, agents discovered the equipment, literature, and set-

up for a large-scale marijuana grow operation with everything but the seeds planted. Moseby

indicated to officers that he intended to grow marijuana. In addition, agents found marijuana

residue in an ashtray, which is consistent with Moseby’s admission to Pretrial Services that he

smoked marijuana daily. According to Gardener, when law enforcement officers started to

remove the equipment from the residence, Moseby’s son asked, “Why are you moving my daddy’s

stuff?”

          Moseby, age 40, had resided in Arlington for only a few months prior to his arrest. He

reported previously living in Indiana, Missouri, and Florida. He apparently had sole custody of

his son, as the child’s mother passed away in 2010. His son is currently living with relatives and

is attending school in Indianapolis, Indiana. Moseby was unemployed at the time of his arrest,

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and, although afforded several opportunities by the magistrate judge, has been unable to furnish

valid evidence of a legitimate, stable job offer in the Dallas area that is untainted by criminal

elements. He has a significant substance abuse problem, smoking marijuana first at age 10 and

using it on a daily basis at the time of his arrest. Although Moseby was arrested seven times in

Indiana for a variety of offenses, including possession of a controlled substance and possession of

marijuana, he was convicted only once—for operating a vehicle while intoxicated—and was placed

on probation.

       In view of the nature and circumstances of the offense charged, the large quantity of drugs

involved, his lack of employment, his lack of ties to the community, his criminal history, his

history of substance abuse, his openly exposing a young child to dangerous weapons and drugs,

the substantial penalties he is facing if convicted, and the recommendation of Pretrial Services that

he be detained, Moseby’s pretrial release is not warranted. Moseby has not rebutted the

presumption that he poses a risk of flight and a danger to the community. See United States v.

Rueben, 974 F.2d 580, 586-87 (5th Cir. 1992), cert. denied, 507 U.S. 940 (1993); United States

v. Hare, 873 F.3d 796, 798-99 (5th Cir. 1989).

       Accordingly, in conformity with the orders of detention dated June 28, 2011, March 6,

2012, April 27, 2012, and May 14, 2012, Moseby shall remain in custody pending trial. As Judge

Bush indicated in his last two orders, the issue of detention is closed, and the court will not

          . further motions on the subject.
entertain any
         SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 9th day of July, 2012.




                                            ________________________________________
                                                3       MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE
